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                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA


CRAIG OTIS GIBSON,                   )                        3:18-cv-00190-MMD-WGC
                                     )
                        Plaintiff,   )                        MINUTES OF THE COURT
        vs.                          )
                                     )                        November 6, 2020
JAMES DZURENDA, et al.,              )
                                     )
                        Defendants.  )
____________________________________ )

PRESENT: THE HONORABLE WILLIAM G. COBB, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:             KAREN WALKER               REPORTER:         NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

        Before the court is Plaintiff’s “Objection to Magistrate Judge Order Denying Plaintiff’s
Motion to Compel (ECF No. 110) and ECF No. 108 as moot” (ECF No. 120). 1 Plaintiff objects
to the Stipulation and Order that was entered on November 3, 2020 (ECF No. 118) as it denied
Plaintiff’s Motion to Compel (ECF No. 110) as moot.

        IT IS HEREBY ORDERED that Plaintiff’s Objection to Magistrate Judge order Denying
Plaintiff’s Motion to Compel (ECF No. 120) is GRANTED and Plaintiff’s Motion to Compel
(ECF No. 110) is REINSTATED.

     IT IS FURTHER ORDERED that the Defendants shall have to and including Friday,
December 4, 2020, in which to respond to Plaintiff’s Motion to Compel (ECF No. 110).

        IT IS FURTHER ORDERED that when responding to Plaintiff’s Motion to Compel
(ECF No.110) Defendants shall file copies of the Defendants’ discovery responses which pertain
to Plaintiff’s Motion to Compel.

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    The court will treat Plaintiff’s objection (ECF No. 120) as a motion for reconsideration.
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       IT IS FURTHER ORDERED that the Courtroom Administrator shall calendar a
discovery status conference as soon as the court’s calendar will accommodate it.

                                    DEBRA K. KEMPI, CLERK

                                    By:        /s/______________________
                                           Deputy Clerk
